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                     IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


UNITED STATES OF AMERICA                   )           Criminal Number: 2:07-578
                                           )
                                           )
          -versus-                         )           NOTICE OF APPEARANCE
                                           )
                                           )
ALBERT E. PARISH                           )


      The undersigned respectfully enters a notice of her appearance on behalf of

ALBERT E. PARISH, in the above-captioned case.


                                                     Respectfully submitted,

                                                     BLAZER LAW FIRM
                                                     1037 Chuck Dawley Blvd D100
                                                     Mount Pleasant, SC 29464
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                                               By:   /s/ Cameron Jane Blazer
                                                     Cameron Jane Blazer
                                                     Federal ID Number: 10131

                                                     Attorney for Defendant

Charleston, South Carolina
May 1, 2020
